               Case 23-14383-SMG          Doc 25    Filed 06/30/23     Page 1 of 1




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

In re:
                                                            Case No.: 23-14383-SMG
DIAMANTE ENTERPRISES LLC,                                   Chapter 11

         Debtor-in-Possession.
                                      /

                          NOTICE OF UNAVAILABILITY OF
                      SMALL BUSINESS FINANCIAL STATEMENTS

         DIAMANTE ENTERPRISES LLC, (the “Debtor”), hereby certifies, under penalty of

perjury, that no balance sheet, statement of operations, or cash flow statements (collectively, the

“Financials”) are available at this time, but will endeavor to provide before the 341 Meeting.

Dated: June 30, 2023


                                                 By: /s/ Danielle Parker
                                                     Danielle Parker
                                                 Its: President
